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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,                    )
                                             )
               Plaintiff,                    )
                                             )
vs.                                          )                No. 1:18-cr-02181-JB
                                             )
STEVEN MORALES, a.k.a. “SYKLON”              )
                                             )
               Defendant.                    )

                       UNOPPOSED MOTION FOR CONTINUANCE

       Defendant Steven Morales, by and through his counsel of record, Leah M. Stevens-Block

of Sheehan & Sheehan, P.A., hereby moves this Honorable Court for a sixty-day continuance of

the sentencing hearing currently scheduled for May 10, 2019, and in support of his motion states:

       1.      Sentencing in this matter is currently scheduled for May 10, 2019.

       2.      The Government is evaluating his cooperation and assistance in a pending federal

case against the SNM gang. It will impact his overall sentencing potential.

       3.      Additional time is needed for this evaluation.

       4.      Assistant United States Attorney Maria Armijo does not oppose this motion for

continuance.

       5.      The parties request a sixty-day continuance.

       WHEREFORE, Defendant Steven Morales respectfully requests this Honorable Court

grant his motion and continue the sentencing hearing.
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                                                Respectfully submitted,

                                                /s/ Leah M. Stevens-Block
                                                Leah M. Stevens-Block
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I hereby certify that a true and correct copy
of the foregoing was electronically filed
this 25th day of April, 2019 to:

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/s/ Leah M. Stevens-Block
Leah M. Stevens-Block




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